IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF OKLAHOMA

(1) BLACK EMERGENCY RESPONSE TEAM,

(2) UNIVERSITY OF OKLAHOMA CHAPTER OF
THE AMERICAN ASSOCIATION OF
UNIVERSITY PROFESSORS,

(3) OKLAHOMA STATE CONFERENCE OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,

(4) AMERICAN INDIAN MOVEMENT INDIAN
TERRITORY,

(5) PRECIOUS LLOYD, AS NEXT OF FRIEND OF
S.L.,

(6) ANTHONY CRAWFORD, AND

(7) REGAN KILLACKEY,

PLAINTIFFS
vs.
(1) JOHN O’CONNOR, IN HIS OFFICIAL
CAPACITY AS OKLAHOMA ATTORNEY

GENERAL, ET AL.,

DEFENDANTS,

 

CASE NO. CIV-21-1022-G

AFFIDAVIT OF EMILY STEELE

I, Emily Steele, being first duly sworn upon oath, deposes and state as follows:

1. I have personal knowledge of the following facts and could and would testify

competently thereto if called as a witness in this proceeding.

2. I am the Executive Director for Educational Services for Edmond Public

Schools (“EPS”) and have been in this position since June of 2021. Prior to this

position, I was principal of Sequoyah Middle School, an EPS school, from July 2016

Def.'s Ex. No. 1, Aff. of Emily Steele
to May 2021. I have been a certified educator in Oklahoma since 2001. I have been
employed with EPS as a certified administrator since 2011.

3. In my current position as Executive Director for Educational Services, under
the guidance of the EPS Superintendent, Dr. Angela Grunewald, I ovetsee the
formation of curriculum for all EPS grades, Pre-Kindergarten through 12th, along with
other services that support student learning. I supervise a staff of 16 other EPS
employees who implement all aspect of curticulum throughout the district. I supervise
Jacqueline Rasnic, who is the English Language Arts Content Specialist for EPS. Ms.
Rasnic oversees secondary (Middle School and High School) English curriculum,
which includes the selection of tequited novels (texts) and English Language Arts
(ELA) textbooks.

4. The ELA texts used in grades 6-12 are chosen by EPS teachers working with
Ms. Rasnic. The teachers compile a list of texts which is presented to me for approval.
This is what occurred for the 2021-22 school year.

5. In my position as Executive Director for Educational Services, I was made
aware of the passage of H.B. 1775 by the Oklahoma Legislature in the spring of 2021.
6. The Oklahoma State School Boards Association, of which EPS is a member,
presented virtual town hall meetings to explain H.B. 1775 as well as the emergency
administrative rules adopted Oklahoma State Board of Education. I attended one these
meetings and understand EPS Supetintendent Grunewald, Dr. Debbie Bendick
(Associate Supetintendent), and Cara Jernigan, Executive Director for Elementaty

Education, attended such meetings as well.

Def.'s Ex. No. 1, Aff. of Emily Steele
7. Dr. Grunewald, Dr. Bendick, Ms. Jernigan and I collectively made the decision
to ptovide information to EPS teachers to (1) attempt to explain H.B. 1775, and (2)
assure teachers that they would be able to teach the Oklahoma Academic Standards as
they had done in past years. We worked together to create the document entitled
“Guidelines for HB 1775” which is attached hereto, and also to the Complaint filed in
this lawsuit.

8. In the Guidelines, among other things, we told our teachers that “[t]his law does
not prohibit conversations about race, ethnicity, diversity, or gender. You still have all
the tools you had before, and as always, do not interject your opinion.”

9. I shared the Guidelines with all EPS administrators in our August 2021
administrators’ meeting. All principals were directed to share it in paper form (not
digital) with their teachers in small groups on one of the professional development days
ptior to school starting in August of 2021.

10. I oversee the selection of required and optional texts for all subjects in all grade

levels. The evaluation and selection of texts is a task that occurs every year.

11. There were no texts that were removed for the 2021—22 school year in response
to H.B. 1775.
12. EPS had been contacted by parents who expressed concerns that EPS staff was

teaching about Critical Race Theory (or intended to), even though that was not the
case. The reasoning behind recommending to teachers that they not title lessons with
wotds like “diversity” was to minimize the possibility that parents would view the title

and jump to conclusions about whether EPS was teaching Critical Race Theory.

Def.'s Ex. No. 1, Aff. of Emily Steele
“Diversity” is not a stand-alone standard of the Oklahoma Academic Standards for
English Language Arts. Nevertheless, teachers would still be including diversity and
related topics in their classroom work as appropriate given the specific content of a

given lesson.

13. Over the summer of 2021, EPS worked with its English teachers to develop
reading lists that supplied students more flexibility and diversity in their choice of texts.
This was in response to input from students and staff.

14, The restructuring of EPS English Language Arts reading lists was in no way in
response to H.B. 1775.

15. The guidelines provided to EPS teachers [Doc. No. 50-1] provide that the
College Board curricula referenced in Paragraphs 5-8 of the Affidavit of Regan

Killackey is not affected by H.B. 1775:

College Board curriculum may still be taught. If there is something in
the College Board curriculum that you feel may fall under one of these
8 prohibitions, please let us know and we will seek additional guidance.

16. The guidelines provided to EPS teachers [Doc. No. 50-1] specifically state,
“This law does not prohibit conversations about race, ethnicity, diversity, or gender.

You still have all the tools you had before, and as always, do not interject your opinion.”

FURTHER AFFIANT SAYETH NOT.

 

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Def.'s Ex. No. 1, Aff. of Emily Steele
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Guidelines for HB 77S

 

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Additional Guidelines:

Nothing in this law talks about Critical Race Theory, which is typically taught at the university level. CR7 is not par
of the Oklahoma curriculum, We are not going to ‘broaden’ the meaning of HB 1775 or language of ihe tay

When teaching, provide (he facts without stating students should “think this” or “believe this”

This law does not prohibil conversations about race, ethnicity, diversity, Gf Gener You still have all ihe tools you

had before, and as always. do not intenect your opinion

{fa student brings up 4 topic related toa prohibition peint in HB 4775 within a class discussion, you are OKAY
were not teaching the topic ang cannot control what 4 student! brings up. However leechers SNOUT 5
moderate classroom discussions.

  

higher educator iG

fa student asks, ‘Whalis CRT?,” then a teacher may respond with, “it's often a theory used I hit
took at laws in society. This response would not violate the jw

his dees mai

  

Just because a book depicts a character or historical figure whe is experiencing O° practicing racisi
mean you are promoting or transferring that same concept to your students. Classroom discussions centeres
around such readings should not include any of the 8 prohibitions from HB 1TTS

he College Board Curriculum inal

College Board curriculum may still be taugnl. If there is something specitic in t
ill seek additiona! guicance

you fee! may fall under one of these 8 prohibitions, please let us know and we Ww

We teach history sa that we do not repeat it. This law does not prohibit such teachings

A policy will be presented to the board on August 2. This policy will provide the steps to file a complaint. The

policy needs to be in'student and teacher handbooks once approved by the boara, Parents have always had the
nghtito review curiculum.

There is a formal complaint process outlined in this palicy
4, Complaints must be responded to within 10 days
a. In wating
b. Give name
c. Name concept (from the 8) thal was violated
d. Provide witnesses
e. Provide date it happened
2. Outcomes from complaints - 1 let snow within 10-days if investigated. 90 days to investigate 30
days to report findings to SBE
3 ifwrongdoing found, could be disciplined following normal discipline actions, SOE can pull
certification, false reports can be punished
4. Disciplinary actions fall within current policy and 1s confidential (except notifying SOE)
5. Key word in complaint ls WILLEUL
6. The complaint process is intended for current staff, students or guarcans

if supplemental materials are going to be used in the classroom, in addition to the district adopted curriculum
districl-approved extended reading lists, please complete the appropriate form linked HERE from Policy #34
- Form B: This form may be attached to the class syllabus at the start of the year OR this verbiage may be
included in the class syllabus with the parent permission yerbiage being included on the typical

__ acKNOW'E gement’ of syllabus.

_ form: anything that may be found later in the year to add to the course as supplemental material

 
